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              NAACP                                  U. S. DISTRICT COURT
                                                   EASTERN DISTRICT OF MO
                                                           ST. LOUIS


September 30, 2022

U. S. District Judge Ronnie White
Thomas Eagleton U.S. Courthouse
111 S. 10th Street, 20th Floor
St. Louis, Mo. 63102

Subject: Case: 4 l 7-cr-00234-RLW
         Letter dated September 22, 2022 from Rev. Elston K. McCowan -
         Referencing Mr. Mohammed Almuttan

U. S. District Judge White:

My name is Adolphus Morris Pruitt, II and I am President of the St. Louis City Branch of the National
Association for the Advancement for Colored People (NAACP); and Reverend Elston K. McCowan is my
1st Vice President.

Mr. Almuttan owns & operates a store in the Walnut Park Neighborhood where Rev. McCowan resides
and owns a church. Rev. McCowan also worked as a community support specialist and ran the Title I
Program at Walbridge Elementary School, which is in close proximity to Mr. Almuttan's store. The store
(Mr. Almuttan) has in the past contributed goods to the school and provided check cashing services to
local residents. It was these actions that motivated Rev. McCowan to pen his letter in support of Mr.
Almuttan. Unfortunately, that is only a part of the story, there is some additional information which raises
grave concerns about Mr. Almuttan and his respect for the Courts.

When Mr. Almuttan approached Rev. McCowan about writing a letter Rev. McCowan asked Mr.
Mlmuttan specifically if his situation was a part of the wide ranging public corruption cases before the
courts, and Mr. Almuttan assured him that he was not. Thus, Mr. Almutton has acted to deceived not only
Mr. McCowan but also the Court. Mr. Almutton's attempt at deception and manipulation of the Justice
system should be a part of the record and weighted appropriately with respect to sentencing.

I have not asked Rev. McCowan to rescind his letter nor pen one to the contrary (he did offer to do such);
its contents in many ways are factual but obtained through malice. I further attest that the St. Louis City
Branch of the NAACP is not in support of leniency in any form for Mr. Almutton.




Adolphus M. Pruitt, President
St. Louis City NAACP
P. 0. Box 23455, St. Louis Mo. 63156
pruitt@stlouisnaacp.org
(314) 361-8600
